        Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 1 of 33




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

                                                :
CRYSTAL GARRETT-EVANS, Individually :               Civil Action No.
and on Behalf of All Others Similarly Situated, :
                                                :   CLASS ACTION
Plaintiff,                                      :
                                                :   DEMAND FOR JURY TRIAL
vs.                                             :
                                                :
COTY INC., LAMBERTUS “BART”                     :
BECHT, CAMILLO PANE, PIERRE                     :
LAUBIES, PATRICE DE TALHOUËT, and               :
PIERRE-ANDRE TERISSE,                           :
                                                :
Defendants.                                     :




                CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                       THE FEDERAL SECURITIES LAWS
            Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 2 of 33




       Plaintiff Crystal Garrett-Evans (“Plaintiff”), individually and on behalf of all others

similarly situated, by his undersigned counsel, hereby bring this Class Action Complaint (the

“Complaint”) against Coty Inc. (“Coty” or “the Company”), Lambertus “Bart” Becht (“Becht”),

Camillo Pane (“Pane”), Pierre Laubies (“Laubies”), Patrice de Talhouët (“Talhouët”), and Pierre-

Andre Terisse (“Terisse”) (collectively, “Defendants”). The allegations herein are based on

Plaintiff’s personal knowledge as to his own acts and on information and belief as to all other

matters, such information and belief having been informed by the investigation conducted by and

under the supervision of counsel, which includes a review of: U.S. Securities and Exchange

Commission (“SEC”) filings by Coty; securities analysts’ reports and advisories about the

Company; press releases and other public statements issued by the Company; and media reports

about the Company. Counsel’s investigation into the matters alleged herein is ongoing and many

relevant facts are known only to, or are exclusively within the custody or control of, Defendants.

Plaintiff believes that substantial additional evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery. On behalf of himself and the class he

seeks to represent, Plaintiff alleges as follows:

I.     NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of all persons and entities who

purchased or otherwise acquired Coty common stock during the period from October 3, 2016 to

May 28, 2020, inclusive (the “Class Period”), and were damaged thereby. The action is brought

against Coty and certain of its officers and directors for violations of the Securities Exchange Act

of 1934 (the “Exchange Act”) and SEC Rule 10b-5 promulgated thereunder.

       2.      Coty is one of the world’s largest beauty companies. The Company operates three

divisions: Coty Consumer Beauty (“Consumer Beauty”) which focuses on color cosmetics, retail

hair coloring and styling products, body care and mass fragrances sold primarily in the mass retail


                                                    -1-
            Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 3 of 33




channels; Coty Luxury (“Coty Luxury”) which focuses on prestige fragrances and skincare brands;

and Coty Professional Beauty (“Coty Professional”) which focuses on servicing nail salon owners

and professionals in both hair and nail.

       3.      On the first day of the Class Period, October 3, 2016, Coty issued a press release

announcing the completion of its blockbuster merger with The Proctor & Gamble Company’s fine

fragrance, color cosmetics, salon professional and hair color and certain styling businesses (“P&G

Specialty Beauty Business”) for $12.5 billion to scale up its beauty business. In the press release,

Defendant Becht, Chairman of Coty’s Board of Directors (“Board”), confirmed that “…we now

have a much improved team, structure and culture to make the vision of this merger a reality.”1

       4.      But just four months later, on February 9, 2017, the truth began leaking out when

Coty reported its second quarter fiscal 2017 results, which was the first quarter after its completion

of the merger with the P&G Specialty Beauty Business. Coty disclosed what it characterized as

“short-term negative transitional impacts especially including significant trade inventory build in

the first quarter of fiscal 2017 in parts of the P&G business,” indicating that the P&G Specialty

Beauty Business may have been overvalued. At the same time, Defendant Pane assured the market

that “[o]n the P&G Beauty Business merger, we are reiterating our previously communicated $750

million synergy target by fiscal 2020. The integration is progressing as expected, with no major

issues to date.”2 On this news, Coty’s stock price dropped $1.76 per share, or nearly 9%, from a

close of $20.04 per share on February 8, 2017 to close at $18.28 per share on February 10, 2017

after two days of trading on heavy volume.


1
  https://investors.coty.com/news-events-and-presentations/news/news-details/2016/Coty-
Completes-Merger-with-PG-Specialty-Beauty-Business/default.aspx
2
  https://investors.coty.com/news-events-and-presentations/news/news-details/2017/Coty-Inc-
Reports-Second-Quarter-Fiscal-2017-Results-the-First-Quarter-After-Successful-Completion-of-
the-Merger-with-PG-Beauty-Business/default.aspx

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            Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 4 of 33




       5.      Less than a year later however, Coty surprised investors with disappointing

financial results for the fourth quarter and fiscal year ended June 30, 2017 before the market

opened on August 22, 2017, including a 10% organic revenue decline in Consumer Beauty – which

historically accounted for nearly half of Coty’s revenue – signaling that the integration of P&G’s

over 40 beauty brands was still not a reality. That same day, Defendant and Chief Executive Officer

(“CEO”) Pane assured investors that “[w]e completed the incredibly complex acquisition of the

P&G Beauty Business, fully reorganized into a product and customer focused organizational

structure, successfully reached significant milestones in our integration efforts, and boosted our

brand portfolio…” and that “[r]egarding the P&G Beauty Business, our integration efforts are

proceeding well and we remain on track with the synergy delivery.”3 On this news, Coty’s stock

price dropped $3.31 per share, or nearly 17%, from a close of $19.55 per share on August 21, 2017

to close at $16.24 per share on August 24, 2017 after three days of trading on heavy volume.

       6.      Then, before the market opened on November 7, 2018, Coty surprised the market

again, announcing a bigger than expected decline in first quarter fiscal year 2019 sales due to

“several temporary supply-chain related headwinds” which included “[w]arehouse and planning

center consolidated disruptions in Europe and the U.S.” While conceding “the increased scope of

the disruptions resulted in much weaker results than previously expected,” which reflected the

internal challenges in integrating P&G’s beauty brands into Coty’s structure, Defendant Pane

indicated that the challenges would be short-lived: “With the P&G Beauty integration near

completion, and after we have overcome the internal challenges, we will be better equipped to




3
 https://investors.coty.com/news-events-and-presentations/news/news-details/2017/Coty-Inc-
Reports-Fiscal-2017-Fourth-Quarter-and-Full-Year-Results/default.aspx

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            Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 5 of 33




focus more externally.”4 On this news, Coty’s stock price dropped $2.88 per share, or nearly 26%,

from a close of $11.18 per share on November 6, 2018 to a close of $8.30 per share on November

8, 2018 after two days of trading on heavy volume.

       7.      But on July 1, 2019, Coty announced the write down of about $3 billion in value of

brands acquired from P&G as part of a four-year restructuring plan, confirming that the P&G

Specialty Beauty Business had been overvalued. During the business update call, Defendant

Laubies admitted that “it is clear that the difficulty of th[e P&G] merger lies at the heart of many

of the issues that Coty has faced since then” because the “integration took longer and was more

complex than originally envisioned,” “many parts of the acquired business had weak performance

since the merger,” and “the sustained commitment to meeting the financial targets set at the start

of the deal limited the organization’s ability to address some of the underlying trends.”5 At the

same time, Laubies assured investors that “we have now identified what we need to change in our

company to be lasting and sustainable performance with the focus initially building a better

business before we build a significantly bigger one.” On this news, Coty’s stock price dropped

$1.94, or over 14%, from an opening price of $13.53 per share on July 1, 2019 to a closing price

of $11.59 per share that day on heavy volume.

       8.      Just over four months later, on November 18, 2019, Coty announced another beauty

brand acquisition – a 51% majority stake in Kylie Cosmetics for $600 million in order to “build

and further develop Kylie’s existing beauty business,” which “realized an estimated $177M net




4
   https://investors.coty.com/news-events-and-presentations/news/news-details/2018/Coty-Inc-
Reports-First-Quarter-Fiscal-2019-Results/default.aspx
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  https://s23.q4cdn.com/980953510/files/doc_events/20190701_COTY_MA_Call_DN000000002
663079007.pdf

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            Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 6 of 33




revenues for the trailing twelve months (TTM).” Kylie Jenner was described “as the youngest-ever

self-made billionaire on the cover of Forbes Self-Made Billionaire issue in August 2018.”6

       9.      But then, on May 29, 2020, Forbes reported that Kylie Jenner “has been inflating

the size and success of her business. For years.” – revealing that Defendants had overvalued yet

another acquisition.7 On this news, Coty fell $0.56, or over 13%, from a close of $4.19 on May 28,

2020 to a close of $3.63 per share on May 29, 2020 on heavy volume.

       10.     Throughout the Class Period, Defendants made materially false and/or misleading

statements and/or failed to disclose material adverse facts about Coty’s business, operations, and

prospects. Specifically, Defendants misrepresented and/or failed to disclose: (1) that despite being

no stranger to beauty brand acquisitions, Coty did not have adequate processes and procedures in

place to assess and properly value the P&G Specialty Beauty Business and Kylie Cosmetics

acquisitions; (2) that as a result, Coty had overpaid for the P&G Specialty Beauty Business and

Kylie Cosmetics; (3) that Coty did not have adequate infrastructure to smoothly integrate and

support the beauty brands that it acquired from P&G, including an adequate supply chain; (4) that,

as a result of its inadequate infrastructure, Coty was not successfully integrating the beauty brands

it acquired from P&G and not delivering synergies from the acquisition; (5) and that, as a result of

the foregoing, Coty’s financial statements and Defendants’ statements about Coty’s business,

operations, and prospects, were materially false and/or misleading at all relevant times.




6
  https://investors.coty.com/news-events-and-presentations/news/news-details/2019/Coty-and-
Kylie-Jenner-Announce-Strategic-Partnership-to-Expand-Beauty-Brands-Globally/default.aspx
7
  https://www.forbes.com/sites/chasewithorn/2020/05/29/inside-kylie-jennerss-web-of-lies-and-
why-shes-no-longer-a-billionaire/#635aade725f7

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          Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 7 of 33




        11.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s stock, Plaintiff and other Class members have suffered

significant losses and damages.

II.     JURISDICTION AND VENUE

        12.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

        13.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        14.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District. In addition, Coty maintains offices in this Judicial District.

        15.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

U.S. mail, interstate telephone communications, and the facilities of a national securities exchange.

III.    PARTIES

        16.     Plaintiff Crystal Garrett-Evans, as set forth in the accompanying certification,

incorporated by reference herein, purchased Coty common stock during the Class Period, and

suffered damages as a result of the federal securities law violations and false and/or misleading

statements and material omissions alleged herein.




                                                  -6-
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 8 of 33




       17.    Defendant Coty is incorporated in Maryland and headquartered in Amsterdam,

Netherlands. Coty’s common stock trades on the New York Stock Exchange (“NYSE”) under the

symbol “COTY.”

       18.    Defendant Becht served as the Chairman of Coty’s Board from October 2011 to

November 2018 and continued as a member of the Board until January 2019. From September

2014 to September 2016, he also served as Interim CEO overseeing Coty’s operations and mergers

and acquisitions agenda, including the acquisition of the P&G Specialty Beauty Business. Mr.

Becht holds a Bachelor of Arts degree in economics from the University of Groningen and an

MBA from the University of Chicago, Booth School of Business.

       19.    Defendant Pane served as Coty’s CEO and a member of its Board from September

2016 to November 2018. He had joined Coty’s Executive Committee in July 2015 as the Executive

Vice President, Category Development. Prior to joining Coty, he spent nearly 20 years at Reckitt

Benckiser in various roles, including Senior Vice President, Global Category Officer Consumer

Health. Mr. Pane holds a degree in business administration from Bocconi University.

       20.    Defendant Laubies served as Coty’s CEO, a member of the Board, and a member

of the Executive Committee from November of 2018 to May 2020. In January 2019, he also

assumed the leadership for formulating and implementing the strategic vision for Consumer

Beauty as its President. Prior to joining Coty, he served as the CEO of Jacobs Douwe Egberts BV

from September 2013 to March 2018. Mr. Laubies holds a Master’s degree in Economics from

Sciences Politiques de Paris, Université Sorbonne and a Law degree from the Université Paris 2

Pantheon-Assas.

       21.    Defendant Talhouët served as the Chief Financial Officer (“CFO”) of Coty from

December 2013 to September 2018, joining the Executive Committee in January 2014. Prior to




                                             -7-
          Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 9 of 33




joining Coty, he was the Corporate Finance Officer Americas and a member of the finance

executive committee for Mars Unisabi. Mr. Talhouët holds a bachelor’s degree from the Paris

Nanterre University and a master’s degree from the National Conservatory of Arts & Crafts.

       22.     Defendant Terisse has served as the CFO of Coty and a member of the Executive

Committee since February 2019 and as its Chief Operating Officer (“COO”) since February 2020.

Prior to joining Coty, he spent the majority of his career at Danone, notably as Group CFO from

2008 to 2015 and Executive Vice President (“EVP”) for Danone Africa Division from 2015 to

2017. Terisse holds a Bachelor’s degree in Business and Management from IAE Lyon III and a

Master’s degree in Finance from EM Lyon Business School, France.

       23.     Defendants Becht, Pane, Laubies, Talhouët, and Terisse are collectively referred to

hereinafter as the “Individual Defendants.”

       24.     Because of the Individual Defendants’ executive positions, they each had access to

the undisclosed adverse information about Coty’s business, operations, operational trends,

controls, markets, and present and future business prospects via internal corporate documents,

conversations and connections with other corporate officers and employees, attendance at

management and Board meetings and committees thereof, including the Executive Committee.

       25.     It is appropriate to treat Defendants as a group for pleading purposes and to presume

that the false, misleading and incomplete information conveyed in the Company’s public filings,

press releases and other publications, as alleged herein, are the collective actions of the narrowly

defined group of Defendants identified above. Each of the Individual Defendants was directly

involved in the management and day-to-day operations of the Company at the highest levels and

was privy to confidential proprietary information concerning the Company and its business,

operations, controls, growth, products and present and future business prospects as alleged herein.




                                               -8-
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 10 of 33




In addition, the Individual Defendants were involved in drafting, producing, reviewing and/or

disseminating the false and/or misleading statements and information alleged herein, were aware

of, or recklessly disregarded, the false and misleading statements being issued regarding the

Company, and approved or ratified these statements in violation of the federal securities laws.

       26.     As officers and controlling persons of a publicly-held company whose shares are

registered with the SEC pursuant to the Exchange Act and trade on the NYSE which is governed

by the provisions of the federal securities laws, the Individual Defendants each had a duty to

promptly disseminate accurate and truthful information with respect to the Company’s operations,

business, products, markets, management, and present and future business prospects. In addition,

the Individual Defendants each had a duty to correct any previously-issued statements that had

become materially misleading or untrue, so that the market price of the Company’s publicly-traded

shares would be based upon truthful and accurate information. Defendants’ false and/or misleading

misrepresentations and omissions during the Class Period violated these specific requirements and

obligations.

       27.     The Individual Defendants, because of their positions of control and authority as

Officers and Directors of the Company, were able to, and did, control the content of the various

SEC filings, press releases and other public statements pertaining to the Company during the Class

Period. Each Individual Defendant was provided with copies of the documents alleged herein to

be misleading before or shortly after their issuance or had the ability or opportunity to prevent their

issuance or cause them to be corrected. Accordingly, each Individual Defendant is responsible for

the accuracy of the public statements detailed herein and is, therefore, primarily liable for the

representations contained therein.




                                                 -9-
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 11 of 33




       28.       Each Defendant is liable as a participant in a fraudulent scheme and course of

business that operated as a fraud or deceit on purchasers of Coty shares by disseminating materially

false and/or misleading statements and/or concealing material adverse facts.

IV.    DEFENDANTS’ FALSE AND MISLEADING STATEMENTS

       29.       Throughout the Class Period, Defendants were aware or severely reckless in not

knowing that Coty did not have adequate processes and procedures in place to assess and properly

value acquisitions, and that as a result, Coty had overpaid for the beauty brands acquired from

P&G as well as Kylie Cosmetics. Further, Defendants were aware or severely reckless in not

knowing that Coty did not have adequate infrastructure to smoothly integrate and support the

beauty brands that it acquired from P&G, including an adequate supply chain, and that as a result,

Coty was failing to successfully integrate and deliver synergies from the acquisition of those

beauty brands.

       A.        Defendants’ Valuation & Integration of the P&G Specialty Beauty Business

       30.       On the first day of the Class Period, October 3, 2016, Coty issued a press release

announcing the completion of its blockbuster acquisition of the P&G Specialty Beauty Business

for $12.5 billion to scale up its beauty business. In the press release, Defendant Becht, Chairman

of Coty’s Board of Directors, confirmed that “…we now have a much improved team, structure

and culture to make the vision of this merger a reality.”8

       31.       The following month, on November 9, 2016, Coty reported first quarter fiscal 2017

results for the stand-alone Coty business prior to the completion of the merger with P&G Specialty

Beauty Business. In the Company’s press release, Defendant Bart declared that for the combines

company, “[w]e continue to target the total four-year synergies and working capital benefits of


8
 https://investors.coty.com/news-events-and-presentations/news/news-details/2016/Coty-
Completes-Merger-with-PG-Specialty-Beauty-Business/default.aspx

                                               - 10 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 12 of 33




$750 million and $500 million, respectively, with no change to the operating costs to realize

both,” assuring investors that “while there may be challenges as we integrate and rebuild the

businesses, we are firmly committed to realizing the ambitions we have and delivering value for

all our shareholders.”

       32.     The statements in ¶¶30-31 were materially false and/or misleading when made

and/or omitted to state material facts necessary to make the statements not misleading because

Coty did not have adequate infrastructure to smoothly integrate and support the beauty brands that

it acquired from P&G, including an adequate supply chain, and that as a result, Coty was failing

to successfully integrate and deliver synergies from the acquisition of those beauty brands.

       33.     On February 9, 2017, Coty reported its second quarter fiscal 2017 financial results,

the first quarter after its completion of the merger with the P&G Specialty Beauty Business. While

Coty disclosed “negative transitional impacts especially including significant trade inventory build

in the first quarter of fiscal 2017 in parts of the P&G business” on the Combined Company’s net

revenues, it assured investors those impacts were “short-term.” Defendant Pane similarly stated

that “[t]he business was impacted by significantly higher-than-anticipated inventory levels in the

market on the acquired P&G Beauty Business, competitive pressure in the Consumer Beauty

division and the distraction associated with the merger integration efforts,” but described the

impacts as “short term challenges like the ones we faced in the first semester.” Pane added that

“[o]n the P&G Beauty Business merger, we are reiterating our previously communicated $750

million synergy target by fiscal 2020. The integration is progressing as expected, with no major

issues to date.”9



9
  https://investors.coty.com/news-events-and-presentations/news/news-details/2017/Coty-Inc-
Reports-Second-Quarter-Fiscal-2017-Results-the-First-Quarter-After-Successful-Completion-of-
the-Merger-with-PG-Beauty-Business/default.aspx

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         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 13 of 33




       34.     On May 10, 2017, Coty reported third quarter fiscal 2017 results and in its press

release, Defendant Pane again stated that “[o]n the integration of the P&G Beauty Business, we

are making good progress.”

       35.     The statements in ¶¶33-34 were materially false and/or misleading when made

and/or omitted to state material facts necessary to make the statements not misleading because

Coty did not have adequate processes and procedures in place to assess and properly value

acquisitions, and that as a result, Coty overpaid for the beauty brands acquired from P&G. Further,

far from being “short term,” Coty fundamentally did not have adequate infrastructure to smoothly

integrate and support the beauty brands that it acquired from P&G, including an adequate supply

chain, and that as a result, Coty was failing to successfully integrate and deliver synergies from

the acquisition of those beauty brands.

       36.     On August 22, 2017, Coty reported financial results for the fourth quarter and fiscal

year ended June 30, 2017, including a 10% organic revenue decline in Consumer Beauty – which

historically accounted for nearly half of Coty’s revenue. As Defendant Pane conceded, “our

Consumer Beauty division remains under pressure and its recovery is a key priority for us.”

However, Pane continued to assure investors that “[w]e completed the incredibly complex

acquisition of the P&G Beauty Business, fully reorganized into a product and customer focused

organizational structure, successfully reached significant milestones in our integration efforts,

and boosted our brand portfolio…” and that “[r]egarding the P&G Beauty Business, our

integration efforts are proceeding well and we remain on track with the synergy delivery.”10




10
  https://investors.coty.com/news-events-and-presentations/news/news-details/2017/Coty-Inc-
Reports-Fiscal-2017-Fourth-Quarter-and-Full-Year-Results/default.aspx

                                              - 12 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 14 of 33




       37.     On November 9, 2017, Coty reported its first quarter fiscal 2018 financial results

and in its press release, Defendant Pane declared that “as of September 1, we have exited our third

and final TSA with P&G for the ALMEA region and now have control of processes, systems and

data across the new Coty.” 11

       38.     The statements in ¶¶36-37 were materially false and/or misleading when made

and/or omitted to state material facts necessary to make the statements not misleading because

Coty did not have adequate infrastructure to smoothly integrate and support the beauty brands that

it acquired from P&G, including an adequate supply chain, and that as a result, Coty was failing

to successfully integrate and deliver synergies from the acquisition of those beauty brands.

       39.     On February 8, 2018, Coty reported its second quarter fiscal 2018 financial results

and in its press release, Defendant Pane stated with regard to margin that “we continue to aim for

a healthy improvement in the second half of the year versus the prior year, with most of the impact

coming in Q4, as we continue to deliver on our merger synergies.”12

       40.     On May 9, 2018, Coty reported its third quarter fiscal 2018 financial results and in

its press release, Defendant Pane stated that “[t]he Consumer Beauty division continued its uneven

performance, but with encouraging signs of stability” and that with regard to “adjusted operating

margin, we continue to aim for a healthy improvement in the second half of the year versus the

prior year, with most of the impact coming in Q4, as we continue to deliver on our merger

synergies.” In addition, during the earnings call, Defendant Talhouët stated that “[t]he overall

integration is progressing in line with our timetable.” As we advance towards the end of the




11
   https://investors.coty.com/news-events-and-presentations/news/news-details/2017/Coty-Inc-
Reports-First-Quarter-Fiscal-2018-Results/default.aspx
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   https://investors.coty.com/news-events-and-presentations/news/news-details/2018/Coty-Inc-
Reports-Second-Quarter-Fiscal-2018-Results/default.aspx

                                              - 13 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 15 of 33




integration, we have fine-tuned our original estimate made 2 years ago and have broadened the

scope, including further go-to-market changes, systems enhancements and more complete one

order, one shipment, one invoice.”

       41.     The statements in ¶¶39-40 were materially false and/or misleading when made

and/or omitted to state material facts necessary to make the statements not misleading because

Coty did not have adequate infrastructure to smoothly integrate and support the beauty brands that

it acquired from P&G, including an adequate supply chain, and that as a result, Coty was failing

to successfully integrate and deliver synergies from the acquisition of those beauty brands.

       42.     On August 21, 2018, Coty reported its fiscal year 2018 fourth quarter and full year

financial results and in its press release, disclosed “short term supply chain disruptions resulting

from the consolidation of warehouses and planning centers in North America and Europe, as the

ex P&G business is integrated into Coty.”13 At the same time, Defendant Pane assured the market

that “[t]he peak of the impact of the supply chain disruptions due to our logistics and manufacturing

consolidation will come in 1Q19, with a smaller tail end in 2Q19. . . . we do expect that these

business integration related impacts will be largely over by the end of first half 2019 and our

FY19 targets take these disruptions into consideration.” Pane also touted that “[t]he first half of

our synergies commitment has been delivered as planned by FY18.”

       43.     On November 7, 2018, Coty announced a bigger than expected decline in first

quarter fiscal year 2019 sales due to “several temporary supply-chain related headwinds” which

included “[w]arehouse and planning center consolidated disruptions in Europe and the U.S.” In

the Company’s press release, Defendant Pane also conceded “the increased scope of the




13
  https://investors.coty.com/news-events-and-presentations/news/news-details/2018/Coty-Inc-
Reports-Fiscal-2018-Fourth-Quarter-and-Full-Year-Results/default.aspx

                                               - 14 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 16 of 33




disruptions [in the first quarter from warehousing and planning consolidation] resulted in much

weaker results than previously expected,” reflecting the internal challenges in integrating P&G’s

beauty brands into Coty’s structure. However, Defendant Pane again indicated that the challenges

would be short-lived and the integration was going as expected: “As a result of these disruptions,

we have decided to modify our distribution center consolidation plan for the remainder of the year

to minimize business impact. With a healthy synergy delivery already in 1Q19, these

modifications should have no impact to our commitment of $225 million of synergies in FY19

and $750 million total by the end of FY20. . . . With the P&G Beauty integration near

completion, and after we have overcome the internal challenges, we will be better equipped to

focus more externally.”14

       44.     The statements in ¶¶42-43 were materially false and/or misleading when made

and/or omitted to state material facts necessary to make the statements not misleading because

rather than “short term” or “temporary,” Coty fundamentally did not have adequate infrastructure

to smoothly integrate and support the beauty brands that it acquired from P&G, including an

adequate supply chain, and that as a result, Coty was failing to successfully integrate and deliver

synergies from the acquisition of those beauty brands.

       45.     On February 8, 2019, Coty reported its second quarter fiscal 2019 financial results

and noted in its press release that there was “some moderation in the supply chain-related

headwinds discussed in 1Q19.” Defendant Pane also touted that “the management team we have

put into place is the right one to develop this plan, and that together with the broader Coty

organization, we will be able to meet the objectives of driving gross margin improvement,” which




14
  https://investors.coty.com/news-events-and-presentations/news/news-details/2018/Coty-Inc-
Reports-First-Quarter-Fiscal-2019-Results/default.aspx

                                              - 15 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 17 of 33




“means managing revenue and costs, improving product mix and range, simplifying our portfolio

and formulations, and systemically deploying lean-inspired methodologies in our manufacturing

and logistics operations.” 15

       46.       On May 8, 2019, Coty reported its third quarter fiscal 2019 financial results and its

press release noted that “we largely resolved the supply constraints across all divisions, resulting

in a significant reduction in supply chain-related headwinds in 3Q19 and a minimal expected

impact in 4Q19.” Defendant Pane also stated that “[t]hird quarter results clearly indicate that

supply issues are largely resolved and we expect very limited impact from supply chain disruption

on the business in the remainder of fiscal 2019.”16

       47.       The statements in ¶¶45-46 were materially false and/or misleading when made

and/or omitted to state material facts necessary to make the statements not misleading because

Coty fundamentally did not have adequate infrastructure to smoothly integrate and support the

beauty brands that it acquired from P&G, including an adequate supply chain, and that as a result,

Coty was failing to successfully integrate and deliver synergies from the acquisition of those

beauty brands.

       48.       On July 1, 2019, Coty announced the write down of about $3 billion in value of

brands acquired from P&G as part of a four-year restructuring “Turnaround Plan,” confirming that

the P&G Specialty Beauty Business had been overvalued.17 During the business update call,

Defendant Laubies admitted that “it is clear that the difficulty of th[e P&G] merger lies at the heart


15
   https://investors.coty.com/news-events-and-presentations/news/news-details/2019/Coty-Inc-
Reports-Second-Quarter-Fiscal-2019-Results/default.aspx
16
   https://investors.coty.com/news-events-and-presentations/news/news-details/2019/Coty-Inc-
Reports-Fiscal-Third-Quarter-2019-Results/default.aspx
17
   https://investors.coty.com/news-events-and-presentations/news/news-details/2019/Coty-
Announces-Turnaround-Plan-to-Better-Leverage-Its-Platform-and-Step-up-
Performance/default.aspx

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         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 18 of 33




of many of the issues that Coty has faced since then” because the “integration took longer and was

more complex than originally envisioned,” “many parts of the acquired business had weak

performance since the merger,” and “the sustained commitment to meeting the financial targets

set at the start of the deal limited the organization’s ability to address some of the underlying

trends.”18 At the same time, Laubies assured investors that “we have now identified what we need

to change in our company to be lasting and sustainable performance with the focus initially

building a better business before we build a significantly bigger one.”

       49.      On August 28, 2019, Coty reported its fourth quarter fiscal 2019 and full year

results which were in-line with guidance and in its press release, Defendant Terisse declared that

“[w]e now have a clear business and financial framework for the next four years.”19

       50.      The statements in ¶¶48-49 were materially false and/or misleading when made

and/or omitted to state material facts necessary to make the statements not misleading because

Coty still did not have adequate processes and procedures in place to assess and properly value

acquisitions.

       B.       Defendants’ Valuation & Integration of Kylie Cosmetics

       51.      On November 18, 2019, Coty announced another beauty brand acquisition – a 51%

majority stake in Kylie Cosmetics for $600 million in order to “build and further develop Kylie’s

existing beauty business,” which “realized an estimated $177M net revenues for the trailing twelve




18
   https://s23.q4cdn.com/980953510/files/doc_events/20190701_COTY_MA_Call_DN00000000
2663079007.pdf
19
    https://investors.coty.com/news-events-and-presentations/news/news-details/2019/Coty-Inc-
Reports-Fiscal-2019-Fourth-Quarter-and-Full-Year-Results-In-line-with-Guidance/default.aspx

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         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 19 of 33




months (TTM).” Kylie Jenner was described “as the youngest-ever self-made billionaire on the

cover of Forbes Self-Made Billionaire issue in August 2018.”20

       52.     On February 5, 2020, Coty reported its second quarter fiscal year 2020 financial

results and in its press release, defendant Terisse stated that “we have now commenced a strategic

partnership with Kylie Jenner, and we look forward to building a high growth, digitally native

beauty brand.”21

       53.     The statements in ¶¶51-52 were materially false and/or misleading when made

and/or omitted to state material facts necessary to make the statements not misleading because

Coty did not have adequate processes and procedures in place to assess and properly value

acquisitions, and that as a result, Coty overpaid for Kylie Cosmetics.

V.     The Truth Emerges

       54.     Before the market opened on February 9, 2017, the truth began leaking out when

Coty reported its second quarter fiscal 2017 results, which was the first quarter after its completion

of the merger with the P&G Specialty Beauty Business. Coty disclosed what it characterized as

“short-term negative transitional impacts especially including significant trade inventory build in

the first quarter of fiscal 2017 in parts of the P&G business,” indicating that the P&G Specialty

Beauty Business may have been overvalued. At the same time, Defendant Pane assured the market

that “[o]n the P&G Beauty Business merger, we are reiterating our previously communicated $750

million synergy target by fiscal 2020. The integration is progressing as expected, with no major

issues to date.”




20
   https://investors.coty.com/news-events-and-presentations/news/news-details/2019/Coty-and-
Kylie-Jenner-Announce-Strategic-Partnership-to-Expand-Beauty-Brands-Globally/default.aspx
21
   https://investors.coty.com/news-events-and-presentations/news/news-details/2020/Coty-Inc-
Reports-Fiscal-Second-Quarter-2020-Results/default.aspx

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         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 20 of 33




       55.     On this news, Coty’s stock price dropped $1.76 per share, or nearly 9%, from a

close of $20.04 per share on February 8, 2017 to close at $18.28 per share on February 10, 2017

after two days of trading on heavy volume.

       56.     Less than a year later however, Coty surprised investors with disappointing

financial results for the fourth quarter and fiscal year ended June 30, 2017 before the market

opened on August 22, 2017, including a 10% organic revenue decline in Consumer Beauty – which

historically accounted for nearly half of Coty’s revenue – signaling that the integration of P&G’s

over 40 beauty brands was still not a reality. That same day, Defendant and Chief Executive Officer

(“CEO”) Pane assured investors that “[w]e completed the incredibly complex acquisition of the

P&G Beauty Business, fully reorganized into a product and customer focused organizational

structure, successfully reached significant milestones in our integration efforts, and boosted our

brand portfolio…” and that “[r]egarding the P&G Beauty Business, our integration efforts are

proceeding well and we remain on track with the synergy delivery.”

       57.     On this news, Coty’s stock price dropped $3.31 per share, or nearly 17%, from a

close of $19.55 per share on August 21, 2017 to close at $16.24 per share on August 24, 2017 after

three days of trading on heavy volume.

       58.     Then, before the market opened on November 7, 2018, Coty surprised the market

again, announcing a bigger than expected decline in first quarter sales due to “several temporary

supply-chain related headwinds” which included “[w]arehouse and planning center consolidated

disruptions in Europe and the U.S.” While conceding that the internal challenges in integrating

P&G’s beauty brands into Coty’s structure, Defendant Pane indicated that the challenges would

be short-lived: “With the P&G Beauty integration near completion, and after we have overcome

the internal challenges, we will be better equipped to focus more externally.”




                                              - 19 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 21 of 33




       59.     On this news, Coty’s stock price dropped $2.88 per share, or nearly 26%, from a

close of $11.18 per share on November 6, 2018 to a close of $8.30 per share on November 8, 2018

after two days of trading on heavy volume.

       60.     But on July 1, 2019, Coty announced the write down of about $3 billion in value of

brands acquired from P&G as part of a four-year restructuring plan, confirming that the P&G

Specialty Beauty Business had been overvalued. During the business update call, Defendant

Laubies admitted that “it is clear that the difficulty of th[e P&G] merger lies at the heart of many

of the issues that Coty has faced since then” because the “integration took longer and was more

complex than originally envisioned,” “many parts of the acquired business had weak performance

since the merger,” and “the sustained commitment to meeting the financial targets set at the start

of the deal limited the organization’s ability to address some of the underlying trends.” At the same

time, Laubies assured investors that “we have now identified what we need to change in our

company to be lasting and sustainable performance with the focus initially building a better

business before we build a significantly bigger one.”

       61.     On this news, Coty’s stock price dropped $1.94, or over 14%, from an opening

price of $13.53 to a closing price of $11.59 per share on July 1, 2019 on heavy volume.

       62.     Just over four months later, on November 18, 2019, Coty announced another beauty

brand acquisition – a 51% majority stake in Kylie Cosmetics for $600 million in order to “build

and further develop Kylie’s existing beauty business,” which “realized an estimated $177M net

revenues for the trailing twelve months (TTM).” Kylie Jenner was described “as the youngest-ever

self-made billionaire on the cover of Forbes Self-Made Billionaire issue in August 2018.”




                                               - 20 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 22 of 33




       63.     But then, on May 29, 2020, Forbes reported that Kylie Jenner “has been inflating

the size and success of her business. For years.” – revealing that Defendants had overvalued yet

another acquisition.

       64.     On this news, Coty fell $0.56, or over 13%, from a close of $4.19 on May 28, 2020

to a close of $3.63 per share on May 29, 2020 on heavy volume.

VI.    ADDITIONAL SCIENTER ALLEGATIONS

       65.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding Coty, their control over, and/or

receipt and/or modification of Coty’s allegedly materially misleading misstatements and/or their

associations with the Company which made them privy to confidential proprietary information

concerning Coty, participated in the fraudulent scheme alleged herein.

VII.   APPLICABILITY OF PRESUMPTION OF RELIANCE (FRAUD-ON-THE-
       MARKET DOCTRINE

       66.     The market for Coty’s common stock was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, Coty’s securities traded at artificially inflated prices during the Class Period. On October

5, 2016, the Company’s share price closed at a Class Period high of $25.10 per share. Plaintiff and

other members of the Class purchased or otherwise acquired the Company’s securities relying




                                                - 21 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 23 of 33




upon the integrity of the market price of Coty’s securities and market information relating to Coty,

and have been damaged thereby.

       67.     During the Class Period, the artificial inflation of Coty’s shares was caused by the

material misrepresentations and/or omissions particularized in this Complaint causing the damages

sustained by Plaintiff and other members of the Class. As described herein, during the Class Period,

Defendants made or caused to be made a series of materially false and/or misleading statements

about Coty’s business, prospects, and operations. These material misstatements and/or omissions

created an unrealistically positive assessment of Coty and its business, operations, and prospects,

thus causing the price of the Company’s securities to be artificially inflated at all relevant times,

and when disclosed, negatively affected the value of the Company shares. Defendants’ materially

false and/or misleading statements during the Class Period resulted in Plaintiff and other members

of the Class purchasing the Company’s securities at such artificially inflated prices, and each of

them has been damaged as a result.

       68.     At all relevant times, the market for Coty’s common stock was an efficient market

for the following reasons, among others:

               a.      Coty common stock met the requirements for listing, and were listed and

       actively traded on the NYSE, a highly efficient and automated market;

               b.      On average, more than 4% of Coty’s stock outstanding were traded weekly

       during the Class Period;

               c.      As a regulated issuer, Coty filed periodic public reports with the SEC and/or

       the NYSE;

               d.      Coty regularly communicated with public investors via established market

       communication mechanisms, including through regular dissemination of press releases on




                                               - 22 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 24 of 33




       the national circuits of major newswire services and through other wide-ranging public

       disclosures, such as communications with the financial press and other similar reporting

       services;

               e.      Coty was followed by numerous securities analysts employed by major

       brokerage firms who wrote reports about the Company, and these reports were distributed

       to the sales force and certain customers of their respective brokerage firms. Each of these

       reports were publicly available and entered the public marketplace.

               f.      Multiple market makers made a market in Coty’s common stock during the

       Class Period; and

               g.      The price of Coty’s common stock responded quickly to incorporate and

       reflect new public information concerning Coty during the Class Period.

       69.     As a result of the foregoing, the market for Coty’s securities promptly digested

current information regarding Coty from all publicly available sources and reflected such

information in Coty’s share price. Under these circumstances, all purchasers of Coty’s securities

during the Class Period suffered similar injury through their purchase of Coty’s securities at

artificially inflated prices and a presumption of reliance applies.

       70.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable




                                                - 23 -
          Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 25 of 33




investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

VIII. NO SAFE HARBOR

        71.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of Coty

who knew that the statement was false when made.

IX.     CAUSES OF ACTION

                                             COUNT I

      Violation of § 10(b) of The Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   (Against All Defendants)

        72.    Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.




                                                - 24 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 26 of 33




       73.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Coty’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

       74.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Coty’s securities in violation of Section 10(b) of the

Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

       75.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Coty’s financial well-

being and prospects, as specified herein.

       76.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of Coty’s value and performance and

continued substantial growth, which included the making of, or the participation in the making of,

untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about Coty and its business operations and future prospects in light of




                                               - 25 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 27 of 33




the circumstances under which they were made, not misleading, as set forth more particularly

herein, and engaged in transactions, practices and a course of business which operated as a fraud

and deceit upon the purchasers of the Company’s securities during the Class Period.

       77.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or

recklessly disregarded was materially false and misleading.

       78.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Coty’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations,

financial well-being, and prospects throughout the Class Period, Defendants, if they did not have




                                                - 26 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 28 of 33




actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       79.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of Coty’s

securities was artificially inflated during the Class Period. In ignorance of the fact that market

prices of the Company’s securities were artificially inflated, and relying directly or indirectly on

the false and misleading statements made by Defendants, or upon the integrity of the market in

which the securities trades, and/or in the absence of material adverse information that was known

to or recklessly disregarded by Defendants, but not disclosed in public statements by Defendants

during the Class Period, Plaintiff and the other members of the Class acquired Coty’s securities

during the Class Period at artificially high prices and were damaged thereby.

       80.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and

the other members of the Class and the marketplace known the truth regarding the problems that

Coty was experiencing, which were not disclosed by Defendants, Plaintiff and other members of

the Class would not have purchased or otherwise acquired their Coty securities, or, if they had

acquired such securities during the Class Period, they would not have done so at the artificially

inflated prices which they paid.

       81.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.




                                               - 27 -
         Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 29 of 33




       82.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                            COUNT II

                            Violation of § 20(a) of The Exchange Act
                              (Against the Individual Defendants)

       83.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       84.     Individual Defendants acted as controlling persons of Coty within the meaning of

Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level positions and

their ownership and contractual rights, participation in, and/or awareness of the Company’s

operations and intimate knowledge of the false financial statements filed by the Company with the

SEC and disseminated to the investing public, Individual Defendants had the power to influence

and control and did influence and control, directly or indirectly, the decision-making of the

Company, including the content and dissemination of the various statements which Plaintiff

contends are false and misleading. Individual Defendants were provided with or had unlimited

access to copies of the Company’s reports, press releases, public filings, and other statements

alleged by Plaintiff to be misleading prior to and/or shortly after these statements were issued and

had the ability to prevent the issuance of the statements or cause the statements to be corrected.

       85.     In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of Coty and, therefore, had the power to control or influence the particular

transactions giving rise to the securities violations as alleged herein, and exercised the same.

       86.     As set forth above, Coty and Individual Defendants each violated Section 10(b) and

Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position as



                                               - 28 -
          Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 30 of 33




controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the Exchange

Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        a)      Declaring this action to be a proper class action pursuant to Federal Rule of Civil

Procedure (“Rule”) 23, certifying Plaintiff as Class Representatives pursuant to Rule 23(c), and

appointing Roche Cyrulnik Freedman LLP as Class Counsel pursuant to Rule 23(g);

        b)      Awarding compensatory damages in favor of Plaintiff and the other Class

members against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

        c)      Awarding Plaintiff’s reasonable costs and expenses, including attorneys’ fees,

expert fees, and its other costs and expenses; and

        d)      Awarding such equitable, injunctive or other relief as the Court may deem just

and proper.

                                            JURY DEMAND

        Pursuant to Federal rule of Civil Procedure 38(b), Plaintiff hereby respectfully demands a

trial by jury for all claims.


Dated: September 4, 2020                      Respectfully submitted,

                                               ROCHE CYRULNIK FREEDMAN LLP
                                               /s/ Constantine Economides
                                               Constantine Economides
                                               Velvel (Devin) Freedman (pro hac pending)
                                               Ivy T. Ngo (pro hac pending)
                                               200 South Biscayne Boulevard


                                               - 29 -
Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 31 of 33




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                            the Proposed Class

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                            Additional Counsel for Plaintiff Crystal
                            Garrett-Evans




                            - 30 -
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                       Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 32 of 33


                            CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS

                     1.      I, Crystal Garrett-Evans, make this declaration pursuant to §27(a)(2) of the

            Securities Act of 1933 (“Securities Act”) and/or §21D(a)(2) of the Securities Exchange Act of

            1934 (“Exchange Act”) as amended by the Private Securities Litigation Reform Act of 1995.

                     2.      I have reviewed a Complaint against Coty, Inc. (“Coty” or the “Company”) and

            authorize the filing of a comparable complaint on my behalf.

                     3.      I did not purchase or acquire Coty securities at the direction of plaintiffs’ counsel or

            in order to participate in any private action arising under the Securities Act or Exchange Act.

                     4.      I am willing to serve as a representative party on behalf of a Class of investors who

            purchased or acquired Coty securities during the class period, including providing testimony at

            deposition and trial, if necessary. I understand that the Court has the authority to select the most

            adequate lead plaintiff in this action.

                     5.      To the best of my current knowledge, the attached sheet (Schedule “A”) lists all of

            my transactions in Coty securities during the Class Period, as specified in the Complaint.

                     6.      During the three-year period preceding the date on which this Certification is signed,

            I have not served or sought to serve as a representative party on behalf of a class under the federal

            securities laws.

                     7.      I agree not to accept any payment for serving as a representative party on behalf of

            the class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

            reasonable costs and expenses directly relating to the representation of the class as ordered or

            approved by the Court.

                     I declare under penalty of perjury that the foregoing is true and correct. Executed this day of
                   9/4/2020
            _____________________.

                                                                         _________________________________
                                                                         Crystal Garrett-Evans
Case 1:20-cv-07277-LLS Document 1 Filed 09/04/20 Page 33 of 33




                           SCHEDULE A
                Crystal Garrett-Evans’s Transactions in
                          Coty Inc. (COTY)

    Date                  Transaction Quantity       Price per Share

    1/11/2017            PURCHASE            2            $ 23.0550

    1/19/2017            PURCHASE            1              $ 28.40

    1/23/2017            PURCHASE            1              $ 28.54
